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PS 8
(Rev. 8/2022)
                                                                                              FILED
                                                                                          U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT A    NSAS
                              UNITED STATES DISTRICT COURT
                                          for the
                              EASTERN DISTRICT OF ARKANSAS                            TAM
                                                                                   By:-~~~~~-


U.S.A. vs. Hector Gutierrez                                    Docket No. 0860 4:21CR00165-BSM-1

                Petition for Warrant or Summons for Person Under Pretrial Supervision

                                       PETITIONING THE COURT

D           To Issue a Warrant and Seal this Petition Pending Execution (cc: U.S. Probation and U.S. Marshal only)
~           To Issue a Summons


       COMES NOW Talia McDaniel, U.S. PROBATION OFFICER, presenting an official report
upon the conduct of defendant Hector Gutierrez, who was placed under pretrial release supervision
by the Honorable Brian S. Miller sitting in the Court at Little Rock, Arkansas, on March 13, 2023,
under the following conditions:

(1)         The defendant must not violate federal, state, or local law while on release.

(2)         The defendant must cooperate in the collection of a DNA sample if it is authorized by
            42 U.S.C. § 14135a.

(3)         The defendant must advise the court or the pretrial services office or supervising officer in
            writing before making any change of residence or telephone number.

(4)         The defendant must appear in court as required and, if convicted, must surrender as directed
            to serve a sentence that the court may impose.

(5)         The defendant must sign an Appearance Bond, if ordered.

(7)         The defendant must:
            (a) submit to supervision and report for supervision to the U.S. Probation Office.
            (b) continue or actively seek employment.
            (d) surrender any passport to:
            (e) not obtain a passport or other international travel document.
            (f) abide by the following restrictions on personal association, residence, or travel: The
            defendant is not to leave the Eastern District of Arkansas without the Court/USPO
            perm1ss1on.
            (g) avoid all contact, directly or indirectly, with any person who is or may become a victim
            or witness in the investigation or prosecution, including:
            (k) not possess a firearm, destructive device, or other weapon.
            (1) not use alcohol excessively.
            (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in
            21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.
            (n) submit to testing for a prohibited substance ifrequired by the pretrial services office or
            the supervising officer. Testing may be used with random frequency and may include urine
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    testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
    prohibited substance screening or testing. The defendant must not obstruct, attempt to
    obstruct, or tamper with the efficiency and accuracy of any prohibited substance screening or
    testing.
    (o) participate in a program of inpatient or outpatient substance abuse therapy and
    counseling if directed by the pretrial services office or supervising officer.
    (s) report as soon as possible, to the pretrial services office or supervising officer, every
    contact with law enforcement personnel, including any arrests, questioning, or traffic stops.
    (t) maintain regular contact with his/her attorney, not less than every two weeks.
    report to the U.S. Probation and Pretrial Services Office at least 30 minutes prior to any
    court proceeding which defendant is required to attend. Report on a regular basis to the
    supervising officer.
    Inpatient treatment followed by chemical free living (at least 90 days)

    On June 28, 2022, the Honorable Jerome T. Kearney ordered the defendant to enter inpatient
    residential treatment followed by chemical free housing until the disposition of his case, and
    the defendant is prohibited from using alcohol entirely during the duration of his case.

    On September 21, 2022, the Honorable Jerome T. Kearney revoked the defendant's pretrial
    bond and he was remanded to federal custody pending resolution of his case.

    Mr. Gutierrez entered a guilty plea on February 22, 2023.

    On February 28, 2022, the Honorable Brian S. Miller ordered the defendant be released from
    custody to enter inpatient residential treatment, followed by chemical free living until
    sentencing.

    Sentencing is pending before the Honorable Brian S. Miller, U.S. District Judge.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

    Description of apparent violations: On June 10, 2023, the defendant violated his pretrial
    conditions when he was unsuccessfully discharged from Recovery Centers of Arkansas'
    therapeutic community program (chemical free living) for violating program rules.

    On June 12, 2023, the defendant violated conditions of pretrial conditions when he verbally
    admitted to consuming alcohol on June 9, 2023.

    On June 12, 2023, the defendant violated his pretrial conditions when he failed to report to
    Family Service Agency for outpatient treatment services.

    Description of officer's response to address the defendant's conduct: The defendant was
    discharged from treatment because he failed to report for his curfew June 10, 2023. He was
    verbally reprimanded and reinstructed on conditions of release.

    A record request revealed no new arrests.

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OFFICER'S RECOMMENDATION:

It is respectfully requested that a summons be issued, and the defendant appear for a show-cause
hearing to determine if bond should be revoked.

I declare under penalty of perjury that the               The U.S. Attorney's Office submits this
foregoing is true and correct.                            petition to be filed with Criminal Docketing as
                                                          a motion.
                          ·tally signed by Talia T




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Talia T                      niel
                            2023.06.20 15:12:15
McDaniel
 Talia McDaniel
 U.S. Probation Officer                                  fl   Assistant U.S. Attorney

 Executed on     6/20/2023                                    Executed on __:l'IMIE-'-="---lf?--""-,,!J-'u;,,.'-=---'c......,,.__ _ __



Approved by:




Supervising U.S. Probation Officer




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